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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

DEUTSCHE BANK NATIONAL                       §
TRUST COMPANY, AS TRUSTEE                    §
FOR HOME EQUITY MORTGAGE                     §
LOAN ASSET-BACKED TRUST,                     §
SERIES INABS 2005-B, HOME                    §
EQUITY MORTGAGE LOAN                         §
ASSET-BACKED CERTIFICATES,                   §
SERIES INABS 2005-B,                         §
                                             §
       Plaintiff,                            §         Civil Action No. 4:17-cv-2450
                                             §
v.                                           §
                                             §
KAREN BURNEY MAYBERRY,                       §
                                             §
       Defendant.                            §

         NOTICE CONCERNING AGREED JUDGMENT OF PLAINTIFF AND
                  DEFENDANT KAREN BURNEY MAYBERRY

       Plaintiff the Deutsche Bank National Trust Company, as Trustee for Home Equity

Mortgage Loan Asset-Backed Trust, Series INABS 2005-B, Home Equity Mortgage Loan Asset-

Backed Certificates, Series INABS 2005-B (“Deutsche Bank” or “Plaintiff”) hereby notifies the

Court as follows: Plaintiff previously notified the Court that Mayberry had indorsed and mailed

to Plaintiff’s counsel two Insurance Checks that she claims are all of the checks issued in

connection with and relating to the property commonly known as 3839 North Macgregor Way,

Houston, Texas 77004. [ECF No. 20.] Since that time, however, a stop-payment was issued on

the above-referenced insurance checks.




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                                               Respectfully submitted,

                                               By:    /s/ Philip W. Danaher
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                                               ATTORNEYS FOR PLAINTIFF


                              CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of February, 2019, a true and correct copy of the
foregoing was served via ECF service on the following counsel:

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Sneed, Vine & Perry
900 Congress Avenue, Suite 300
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512-476-6955
512-476-1825 (Fax)
                                                   /s/ Philip W. Danaher
                                                  PHILIP W. DANAHER




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DEFENDANT KAREN BURNEY MAYBERRY 17-000081-370
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